         Case 3:25-cv-02254     Document 1       Filed 03/05/25   Page 1 of 21




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12
                           UNITED STATES DISTRICT COURT
13                        NORTHERN DISTRICT OF CALIFORNIA
                              SAN FRANCISCO DIVISION
14

15

16   J.J., by and through their guardian              Case No. 3:25-cv-2254
     VALERIE GALLARDO, and S.G., by and
17   through their guardian SIRREON
     GOODSON, individually and on behalf of           CLASS ACTION COMPLAINT
18   all others similarly situated,
19                                                    JURY TRIAL DEMANDED
                                   Plaintiffs,
20         v.

21   EPIC GAMES, INC.,
22                                Defendant.
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
         Case 3:25-cv-02254     Document 1    Filed 03/05/25   Page 2 of 21




1          I.     Introduction

2          1.     This action seeks to remedy deceptive practices employed on a massive

3    scale in one of the world’s most popular video games. The Defendant, Epic Games, Inc.

4    (“Epic”), is the company behind the blockbuster game Fortnite. Fortnite is one of the

5    most successful video games ever, with over 400 million registered users and

6    generating more than $5 billion in annual revenue. The problem is that Epic has

7    boosted those revenues through deceptive sales tactics directed at minors.

8          2.     Fortnite is a battle-survival game in which players fight against each
9    other, each aiming to be the “last one standing.” While the game is free to download

10   and play, Epic charges players for certain in-game items, such as costumes and

11   weapons. Here is an example of one such listing from Fortnite’s “Item Shop”:

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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                       1
         Case 3:25-cv-02254     Document 1      Filed 03/05/25   Page 3 of 21




1          3.     This image illustrates the deceptive practices at issue in this suit. The
2    “Horizon Zero Dawn Bundle” is advertised with a prominent pink graphic designating
3    a purported discount. Just to the right, Fortnite displays a stopwatch icon and a timer
4    (“15 Hours” in the image above) partway through its countdown from 24 hours to zero.
5    This display communicated that the availability of this item and the purported
6    discounts were limited in time—such that the item would disappear or return to full
7    price when the timer reached zero. And this is precisely how tens of millions of minor-
8    age Fortnite players understood this item listing and myriad other listings just like it.
9          4.     But, when their countdown timers expired, Fortnite’s Item Shop products
10   did not disappear or return to full price. They remained available for purchase, often at
11   the same purportedly discounted rate, for many days or even weeks at a time. This was
12   an unlawful scheme. Fake sales with made-up expiration times are deceptive and
13   illegal under state statutes proscribing unfair and deceptive trade practices, which
14   prohibit misleading advertisements concerning the reasons for or existence of price
15   reductions and representing that items have characteristics or qualities they do not
16   have. Numerous courts have found that fake countdown timers like Epic’s run afoul of
17   these and similar prohibitions.
18         5.     The Plaintiffs here—J.J. and S.G.—are two minor Fortnite players who
19   Epic deceived with its misleading countdown timers. Each is represented in this lawsuit
20   by their legal guardian. As described below, each bought items from the Fortnite Item
21   Store that Epic advertised with misleading countdown timers that were the same or
22   substantially similar to those described above. They now bring this action, on behalf of
23   themselves and others similarly situated, to remedy Epic’s deceptive practices.
24         II.    Parties
25         6.     Plaintiff S.G. resides in Sacramento, California with their parents,
26   including their guardian, Sirreon Goodson. As defined below, S.G. was both a Fortnite
27   player and a minor under the age of 13 at all relevant times.
28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
                                       2
         Case 3:25-cv-02254      Document 1     Filed 03/05/25   Page 4 of 21




1          7.     Plaintiff J.J. resides in Texas with their parents, including their guardian,
2    Valerie Gallardo. As defined below, J.J. was both a Fortnite player and a minor under
3    the age of 13 at all relevant times.
4          8.     Defendant Epic Games, Inc. is a video game company incorporated in
5    Maryland and headquartered in North Carolina. Epic maintains offices in San
6    Francisco, California, and Larkspur, California.
7          III.   Jurisdiction & Venue
8          9.     The aggregate claims of the putative class members exceed $5 million,
9    exclusive of interest and costs, and at least one of the proposed class members is a
10   citizen of a different state than Epic. Accordingly, this Court has original jurisdiction
11   under the Class Action Fairness Act of 2005. 1
12         10.    This Court has personal jurisdiction over Epic because it sold many
13   products to minor-age Fortnite players in California using the deceptive practices
14   described herein, including plaintiff S.G., and because it perpetrated the deceptive
15   scheme at issue in this suit from its California offices. Employees at Epic’s San
16   Francisco and Larkspur offices were and have been responsible for, among other things,
17   revenue growth through player behavioral analysis and product optimization and
18   design. On information and belief, these efforts included the development and
19   implementation of the design and advertising features of the Item Shop at issue here.
20         11.    Venue is proper because Epic resides in this district and a substantial part
21   of the events or omissions giving rise to this action occurred herein.2
22         IV.    Facts
23                A.      Background
24         12.    Epic is the developer of the video game Fortnite, which can be played on
25   various devices, including smartphones, personal computers, and gaming consoles.
26

27         1 28 U.S.C. §§ 1332(d)(2), (6).

           2 28 U.S.C. § 1391(b)(1), (2).
28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
                                       3
         Case 3:25-cv-02254      Document 1     Filed 03/05/25   Page 5 of 21




1    Fortnite launched in 2017. Today, it has more than 400 million registered users. Tens
2    of millions of those users are minors residing in the United States.
3          13.    Fortnite is a ‘last man standing’ game in which players control a character
4    in a virtual world. These characters do battle with the goal of eliminating each other
5    from the game. The game is made up of various levels through which players can
6    progress. Fortnite’s Battle Royale, for instance, is released in “Chapters,” with each
7    Chapter divided into eight to ten “Seasons.” A new season is released every two to three
8    months and brings a slew of new outfits, vehicles, weapons, and other features.
9          14.    Fortnite allows its players to customize their avatars by purchasing
10   various cosmetic items. These items include outfits (known as “skins”), backpacks,
11   pickaxes, pets, cars, musical instruments, and more. Players use these items to
12   personalize and distinguish their character from others. These cosmetic items are
13   essential to Fortnite players. Customizing Fortnite player avatars and ‘showing off’
14   one’s cosmetic items is central to Fortnite culture.
15         15.    Fortnite players value cosmetic items inversely proportional to their
16   perceived rarity or distinctiveness. The rarer an item is perceived to be, the greater its
17   value. This phenomenon is demonstrated by the secondary market for Fortnite skins
18   and other cosmetic items, where the rarest skins routinely sell for thousands of dollars.
19                B.     The Fortnite Item Shop
20         16.    Epic offers items for sale in the Fortnite Item Shop (the “Shop”), the
21   game’s digital store. Examples of item listings advertised to Fortnite players during the
22   relevant period are as follows.
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
                                       4
        Case 3:25-cv-02254   Document 1   Filed 03/05/25   Page 6 of 21




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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
                                       5
         Case 3:25-cv-02254     Document 1     Filed 03/05/25    Page 7 of 21




1          17.    The items offered in the Shop change over time. During the relevant
2    period, there was no fixed rotation or schedule for offering items in the Shop. Some
3    items, such as the ultra-rare Renegade Raider outfit, were offered briefly and have not
4    been offered in more than six years. Others disappear only to reappear weeks later.
5    These offerings and their schedules are subjects of intense interest to Fortnite players.
6    So much so that millions of Fortnite players regularly tune in to streamers and
7    YouTubers who track the appearance, disappearance, and value of Item Shop offerings.
8                 C.     Epic’s Deceptive Countdown Timers
9          18.    As illustrated by the sample listings above, numerous items offered for
10   sale in the Item Shop featured 24-hour countdown timers and, often, purported
11   discounts. Fortnite displayed these countdown timers in various ways. Some featured
12   a stopwatch beside a “__ Hours” designation; others appeared as a countdown timer
13   beside a “Shop Refresh” notice. These timers began at 24 hours and counted down in
14   real-time until the 24-hour period expired.
15         19.    Epic intended its users to understand these displays as indicating that
16   players’ ability to purchase the items and any purported discounts were limited in time,
17   such that the items on offer would disappear from the Shop or the purported discounts
18   would expire when the timer reached zero. And this is precisely how millions of tens of
19   millions of Fortnite’s minor players reasonably understood them. But, when the timers
20   expired, numerous products in the Shop did not return to disappear or return to ‘full’
21   price. Instead, these items remained available for purchase and were offered at the
22   same purportedly discounted rate—often for many days or weeks at a time.
23         20.    Epic did not explain to Fortnite players which items or discounts would
24   disappear after the timer expired, how often or when an item had been offered
25   previously, whether an item would be offered again, or what method Fortnite used to
26   determine an item’s availability.
27         21.    In 2023, Epic was sanctioned and fined for precisely the practices
28   described above by the consumer protection authority of the Netherlands. As part of its

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
                                       6
         Case 3:25-cv-02254      Document 1     Filed 03/05/25    Page 8 of 21




1    investigation, the Dutch authority surveyed 60 item sets offered for sale in the Fortnite
2    Item Shop, each displayed with a 24-hour countdown timer. This study found that half
3    of the item sets studied were offered longer than 24 hours. For a subset of fourteen of
4    the item sets, the Dutch authority recorded precisely how many days the sets were on
5    offer. This was always longer than 24 hours and on average 15 days.
6                 D.     Effects on Minor-Age Fortnite Players
7          22.    Fortnite is and has been enormously popular amongst minors. Indeed,
8    Epic designed the game to be attractive to and (in some ways) suitable for this audience.
9    The game is colorful, with a non-realistic style that is attractive to younger players. It
10   designates players who are put out of action as “eliminated” (as opposed to industry-
11   standard but more-adult terminology like “killed”), and it does not show graphic
12   indications of violence (in contrast with industry-standard but more-adult graphics
13   showing blood or gore). Whimsical thematic elements, such as players’ ability to do
14   various dances and costume themselves in lighthearted regalia, only add to the game’s
15   appeal to younger players. It is unsurprising that Epic has issued licenses to
16   manufacturers like Hasbro to develop, produce, and market Fortnite merchandise
17   aimed specifically at children, such as school supplies, children’s clothing, and toys.
18   Fortnite’s appeal to minors is confirmed by the fact that tens of millions of U.S.-resident
19   minors play Fortnite—many obsessively.
20         23.    All of this shows that Fortnite is specifically aimed at minors or, at the
21   very least, that Epic knows that tens of millions of U.S.-based minors do play this
22   enormously popular game. These minors are particularly vulnerable to deceptive sales
23   tactics—and Epic has taken advantage of that vulnerability. Studies consistently show
24   that creating the impression of scarcity increases the likelihood that consumers will
25   make an impulse purchase. Research further indicates that minors are particularly
26   susceptible to scarcity-based marketing techniques due to the ‘fear of missing out’
27   (“FOMO”) engendered by the desire to own items perceived as unique or exclusive.
28   Several studies that focused specifically on minors’ purchasing decisions in the Fortnite

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
                                       7
         Case 3:25-cv-02254       Document 1     Filed 03/05/25    Page 9 of 21




1    Item Shop have borne out these well-known consumer tendencies in precisely the
2    context at issue here. These studies found that the design of Fortnite’s Item Shop
3    triggered minors’ “FOMO” by creating the illusion of scarcity, which caused minors to
4    purchase items they would not have otherwise.
5          24.    For all these reasons, it is clear that Epic’s countdown timers created an
6    artificial impression of urgency and thereby imbued millions of minor Fortnite players
7    with FOMO and an attendant sense of urgency. This caused them to make purchases
8    they otherwise would not have made or pay more for items than they otherwise would
9    have. On information and belief, Epic advertised at least thousands of products in this
10   way, resulting in at least millions of dollars in additional sales.
11                E.     The Plaintiffs’ Purchases
12         25.    Plaintiff S.G., a minor, purchased numerous items from the Fortnite Item
13   Shop from 2022 to 2024, including items deceptively marketed using Epic’s countdown
14   timers as described above.
15         26.    Plaintiff J.J., a minor, purchased numerous items from the Fortnite Item
16   Shop from 2022 to 2024, including items deceptively marketed using Epic’s countdown
17   timers as described above.
18         V.     Class Allegations
19         27.    Plaintiffs bring this action under Fed R. Civ. P. 23(a), (b)(2), and (b)(3), on
20   behalf of themselves and the following proposed Class (the “Nationwide Class”):
21                All persons who purchased item(s) advertised with a countdown
                  timer in the Fortnite Item Shop within the applicable statute of
22                limitations and were under the age of 18 and residing in the
                  United States at the time the purchase(s) were made.
23
           28.    Plaintiffs S.G. also seeks to represent the following “California Sub-Class”:
24
                  All persons who purchased item(s) advertised with a countdown
25                timer in the Fortnite Item Shop within the applicable statute of
                  limitations and were under the age of 18 and residing in the state
26                of California at the time the purchase(s) were made.
27         29.    Plaintiffs J.J. also seeks to represent the following “Texas Sub-Class”:
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
                                       8
         Case 3:25-cv-02254         Document 1   Filed 03/05/25   Page 10 of 21




1                 All persons who purchased item(s) advertised with a countdown
                  timer in the Fortnite Item Shop within the applicable statute of
2
                  limitations and were under the age of 18 and residing in the state
3                 of California at the time the purchase(s) were made.

4          30.    The Nationwide Class and the state Sub-Classes will be referred to

5    collectively as the “Class.”

6          31.    Excluded from the proposed Class are Defendant and its affiliates, its

7    employees, officers, directors, legal representatives, heirs successors, subsidiaries, and

8    affiliates, and the judicial officers and their immediate family members and associated

9    court staff assigned to this case, as well as all persons who make a timely election to be

10   excluded from the proposed Class.

11         32.    Certification of the Plaintiffs’ claims for class-wide treatment is

12   appropriate because Plaintiffs can and will prove these claims on a class-wide basis,

13   using the same evidence they would use to prove those elements in individual action

14   alleging the same claims.

15         33.    This action meets all applicable standards for class certification in that

16   Plaintiffs can demonstrate the elements delineated below.

17         34.    Numerosity. The members of the proposed Class are so numerous and

18   geographically dispersed that individual joinder of all proposed class members is

19   impracticable. Plaintiff believes there are at least hundreds of thousands of members

20   of the proposed Class. Plaintiffs will ascertain the precise number from Epic’s books

21   and records. On information and belief, Epic maintains databases containing

22   information about Fortnite users that include personal information concerning each

23   user, including the users’ age, purchase history, and contact information. This

24   information will allow Plaintiffs to ascertain the identities of the members of the

25   proposed Class and communicate with them about this action by methods to be

26   approved by the Court.

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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
                                       9
         Case 3:25-cv-02254     Document 1      Filed 03/05/25   Page 11 of 21




1          35.    Commonality & Predominance. This action involves common questions
2    of law and fact, which predominate over any questions affecting individual Class
3    members. These include, but are not limited to:
4          (a)    Whether Epic engaged in the conduct alleged in this Complaint;
5          (b)    Whether Epic designed, marketed, distributed, sold, or otherwise placed
6                 the video game Fortnite into the stream of commerce in the United States;
7          (c)    Whether Epic’s Fortnite Item Shop displayed discounts subject to
8                 countdown timers for items that did not revert to ‘full’ price at the
9                 expiration of those timers;
10         (d)    Whether Epic’s Fortnite Item Shop displayed items subject to countdown
11                timers and then continued to offer those items for sale in the Item Shop
12                after the expiration of those timers;
13         (e)    Whether Plaintiffs and the members of the Class were injured and harmed
14                directly by Epic’s policies and enticement to entrap minors into making
15                purchases in the Item Shop;
16         (f)    Whether Plaintiffs and the members of the Class are entitled to damages
17                due to Epic’s conduct as alleged in this Complaint, and if so, in what
18                amounts.
19         36.    Typicality. Plaintiffs’ claims are typical of the putative Class members’
20   claims because all Class members were injured by Epic’s wrongful conduct in the same
21   or similar ways, as described herein. On information and belief, the deceptive
22   marketing that gave rise to this action was displayed to all Fortnite players and thus
23   all Class members in the same or substantially similar ways.
24         37.    Adequacy. Plaintiffs are adequate proposed class representatives
25   because their interests do not conflict with the interests of the other members of the
26   proposed Class they seek to represent. They have retained counsel competent and
27   experienced in complex class-action litigation, and they intend to prosecute this action
28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
                                       10
         Case 3:25-cv-02254     Document 1      Filed 03/05/25   Page 12 of 21




1    vigorously. The interests of the proposed Class will be fairly and adequately protected
2    by the Plaintiffs and their counsel.
3           38.    Superiority. The damages suffered by the Plaintiffs and the members of
4    the proposed Class are relatively small compared to the burden and expense that would
5    be required to individually litigate their claims against Epic, such that it would be
6    impracticable for members of the proposed Class to litigate their claims individually.
7    No unusual difficulties are likely to be encountered in the management of this action.
8    The class-action mechanism is therefore superior to any other available means for the
9    fair and efficient adjudication of this controversy.
10          VI.    Tolling & Discovery Rule
11          39.    All applicable statutes of limitations have been tolled by the delayed-
12   discovery doctrine. Reasonable consumers of ordinary technical skill do not repeatedly
13   check product listings over periods of months or years and track the veracity of
14   purported discounts. Nor do they have the technical abilities required to gather and
15   analyze archival materials or videogame source code. For these reasons, the Plaintiffs
16   and the members of the proposed Class could not reasonably be expected to have
17   discovered the deceptive practices described herein before the initiation of this
18   litigation.
19          VII.   Causes of Action
20          40.    The Plaintiffs bring the following causes of action against Epic.
21
                                    COUNT I
22           NORTH CAROLINA UNFAIR & DECEPTIVE TRADE PRACTICES ACT
                 NORTH CAROLINA GENERAL STATUTE § 75-1.1 ET SEQ.
23

24          41.    Plaintiffs bring this claim individually and on behalf of the proposed

25   Nationwide Class as its class representatives.

26          42.    Plaintiffs incorporate and reallege all factual allegations set out in this

27   Complaint as the basis for this cause of action. These allegations include but are not

28   limited to Plaintiffs’ allegations concerning (i) the Fortnite video game at paragraphs

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
                                       11
         Case 3:25-cv-02254     Document 1     Filed 03/05/25    Page 13 of 21




1    13 through 17, (ii) Epic’s use of deceptive countdown timers at paragraphs 18 through
2    21, (iii) the effect of Epic’s deceptive countdown timers on minors at paragraphs 22
3    through 25, and (iv) Plaintiffs’ purchases from Epic at paragraphs 26 through 28.
4          43.    Unfair or deceptive acts or practices in or affecting commerce are unlawful
5    under the North Carolina Unfair and Deceptive Trade Practices Act.
6          44.    Epic’s practices constituted unfair and deceptive trade practices in
7    violation of the Act for the reasons described above. These practices were unfair because
8    they (i) offended established public policy and were immoral, unethical, oppressive,
9    unscrupulous, and substantially injurious to consumers, (ii) were an inequitable
10   assertion of Epic’s power and position, and (iii) had the capacity or tendency to deceive,
11   among other reasons to be proven with competent evidence.
12         45.    Epic’s conduct was in or affecting commerce. As described above, Epic
13   made its products available for purchase in the Fortnite Item Shop and did in fact sell
14   at least millions of dollars of those products to consumers in the relevant period.
15         46.    As a result of Epic’s conduct, Plaintiffs and the members of the proposed
16   Class suffered damages including, but not limited to, those arising from purchasing
17   items at a higher price than they would have otherwise, purchasing items that they
18   would not otherwise have purchased, and purchasing items that were not in fact scarce
19   and thus less valuable than advertised.
20
                                       COUNT II
21                   CALIFORNIA CONSUMERS LEGAL REMEDIES ACT
                            CAL. CIV. CODE § 1750, ET SEQ.
22

23         47.    Plaintiff S.G. brings this claim on their own behalf and on behalf of the

24   California Sub-Class.

25         48.    Plaintiff incorporates and realleges all factual allegations set out in this

26   Complaint as the basis for this cause of action. These allegations include, but are not

27   limited to, Plaintiffs’ allegations concerning (i) the Fortnite video game in paragraphs

28   13 through 17, (ii) Epic’s use of deceptive countdown timers in paragraphs 18 through

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
                                       12
         Case 3:25-cv-02254       Document 1      Filed 03/05/25   Page 14 of 21




1    21, (iii) the effect of Epic’s deceptive countdown timers on minors at paragraphs 22
2    through 25, and (iv) Plaintiffs’ purchases from Epic at paragraphs 26 through 28.
3          49.       Plaintiff and the members of the proposed Sub-Class were and are
4    consumers within the meaning of Cal. Civ. Code § 1761(d).
5          50.       Plaintiff and the members of the proposed Sub-Class engaged in
6    “transactions” with Epic as defined by California Code of Civil Procedure § 1761(e).
7          51.       The conduct alleged in this Complaint constitutes unfair methods of
8    competition and unfair and deceptive acts and practices for the purpose of the CLRA,
9    and the conduct was undertaken by Epic in transactions intended to result in, and
10   which did result in the sale of goods to consumers.
11         52.       Epic violated Section 1770(a)(13) of the California Civil Code by making
12   false and misleading statements of fact concerning the reasons for and existence of price
13   reductions in the Fortnite Item Shop. As alleged fully above, Epic disseminated untrue
14   and misleading statements of fact to Plaintiff and members of the proposed Sub-Class.
15   Epic advertised products in the Fortnite Item Shop with countdown timers that were
16   intended to and in fact did communicate to Fortnite players that Epic’s products and
17   discounts applicable to those products would be available for a limited time. But
18   numerous products remained available, often with the same purported discounts, after
19   those countdown timers expired.
20         53.       Epic violated Section 1770(a)(5) of the California Civil Code by
21   representing that products offered for sale in the Fortnite Item Shop had characteristics
22   or benefits that they did not have. In particular, Epic falsely represented that the
23   products were scarce and thus more likely to be distinctive—features that are crucial
24   to minor-age Fortnite players—and that the value of these items was higher than their
25   actual value.
26         54.       Epic violated Section 1770(a)(9) of the California Civil Code by advertising
27   its products as being offered at a limited-time discount, when in fact Epic did not intend
28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
                                       13
         Case 3:25-cv-02254    Document 1      Filed 03/05/25   Page 15 of 21




1    to offer the products at a limited-time discount, but instead to offer said discounts on
2    an ongoing basis.
3          55.    Epic’s misrepresentations were intended to deceive, and in fact did
4    deceive, Plaintiff and the members of the proposed Sub-Class. Epic knew, or should
5    have known through the exercise of reasonable care, that these statements were
6    inaccurate and misleading.
7          56.    Epic’s misrepresentations were intended to induce reliance, and Plaintiff
8    saw, read, and reasonably relied on them when purchasing Epic’s products. Epic’s
9    misrepresentations were a substantial factor in Plaintiff’s purchase decisions and those
10   made by the members of the proposed Sub-Class. Class-wide reliance can be inferred
11   because Epic’s misrepresentations were material and uniform across the relevant
12   product listings.
13         57.    As a direct and proximate result of Epic’s conduct, Plaintiffs and the
14   members of the proposed Class suffered damages including, but not limited to, those
15   arising from purchasing items at a higher price than they would have otherwise,
16   purchasing items that they would not otherwise have purchased, and purchasing items
17   that were not in fact scarce and thus less valuable than advertised. Plaintiffs provided
18   notice of their claims to Epic more than 30 days before commencing this lawsuit, but
19   Epic has failed to take the remedial measures Plaintiffs requested.
20
                                   COUNT III
21                     CALIFORNIA FALSE ADVERTISING LAW
             CALIFORNIA BUSINESS & PROFESSIONS CODE § 17500, ET SEQ.
22

23         58.    Plaintiff S.G. brings this claim on their own behalf and on behalf of the

24   California Sub-Class.

25         59.    Plaintiff incorporates and realleges all factual allegations set out in this

26   Complaint as the basis for this cause of action. These allegations include, but are not

27   limited to, Plaintiffs’ allegations concerning (i) the Fortnite video game in paragraphs

28   13 through 17, (ii) Epic’s use of deceptive countdown timers in paragraphs 18 through

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
                                       14
         Case 3:25-cv-02254    Document 1      Filed 03/05/25   Page 16 of 21




1    21, (iii) the effect of Epic’s deceptive countdown timers on minors at paragraphs 22
2    through 25, and (iv) Plaintiffs’ purchases from Epic at paragraphs 26 through 28.
3          60.    Epic violated Section 17500 of the California Business and Professions
4    Code by disseminating untrue and misleading advertisements to Plaintiff and members
5    of the proposed Sub-Class. Epic advertised products in the Fortnite Item Shop with
6    countdown timers that were intended to and in fact did communicate to Fortnite
7    players that Epic’s products and discounts applicable to those products would be
8    available for a limited time. But numerous products remained available, often with the
9    same purported discounts, after those countdown timers expired.
10         61.    Epic’s misrepresentations were intended to induce reliance, and Plaintiff
11   saw, read, and reasonably relied on Epic’s statements when purchasing Epic’s products.
12   Epic’s misrepresentations were a substantial factor in Plaintiff’s purchase decision.
13   Substantial class-wide reliance can be inferred because Epic’s misrepresentations were
14   material and uniform across the relevant product listings.
15         62.    As a direct and proximate result of Epic’s conduct, Plaintiffs and the
16   members of the proposed Class suffered damages including, but not limited to, those
17   arising from purchasing items at a higher price than they would have otherwise,
18   purchasing items that they would not otherwise have purchased, and purchasing items
19   that were not in fact scarce and thus less valuable than advertised.
20
                                   COUNT IV
21                    CALIFORNIA UNFAIR COMPETITION LAW
             CALIFORNIA BUSINESS & PROFESSIONS CODE § 17200, ET SEQ.
22

23         63.    Plaintiff S.G. brings this claim on their own behalf and on behalf of the

24   California Sub-Class.

25         64.    Plaintiff incorporates and realleges all factual allegations set out in this

26   Complaint as the basis for this cause of action. These allegations include, but are not

27   limited to, Plaintiffs’ allegations concerning (i) the Fortnite video game in paragraphs

28   13 through 17, (ii) Epic’s use of deceptive countdown timers in paragraphs 18 through

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
                                       15
         Case 3:25-cv-02254      Document 1   Filed 03/05/25   Page 17 of 21




1    21, (iii) the effect of Epic’s deceptive countdown timers on minors at paragraphs 22
2    through 25, and (iv) Plaintiffs’ purchases from Epic at paragraphs 26 through 28.
3          65.    Epic has violated California’s Unfair Competition Law by engaging in
4    unlawful, fraudulent, and unfair conduct.
5          66.    Epic engaged in unlawful conduct by violating the North Carolina Unfair
6    and Deceptive Trade Practices Act, the California False Advertising Law, and the
7    California Consumer Legal Remedies Act, as alleged above and incorporated here.
8          67.    Epic engaged in deceptive conduct by disseminating untrue and
9    misleading advertisements to Plaintiff and members of the proposed Sub-Class. Epic
10   advertised products in the Fortnite Item Shop with countdown timers that were
11   intended to and in fact did communicate to Fortnite players that Epic’s products and
12   discounts applicable to those products would be available for a limited time. But
13   numerous products remained available, often with the same purported discounts, after
14   those countdown timers expired.
15         68.    Epic’s misrepresentations were intended to mislead its customers and did
16   in fact mislead Plaintiff and other reasonable, similarly situated consumers. Plaintiff
17   and the members of the proposed Sub-Class reasonably relied on Epic’s
18   misrepresentations and omissions as detailed above.
19         69.    Epic committed unfair acts by falsely advertising that its products and
20   associated discounts would be available for a limited time, represented by the
21   countdown timers displayed to Fortnite players, when in fact those products and
22   associated discounts continued to be offered after the countdown timers expired. This
23   conduct was immoral, unethical, oppressive, unscrupulous, and substantially injurious
24   to consumers.
25         70.    Epic violated established public policy by violating the CLRA, as alleged
26   above and incorporated here. The unfairness of Epic’s practices is thus tethered to a
27   legislatively declared policy.
28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
                                       16
         Case 3:25-cv-02254       Document 1    Filed 03/05/25   Page 18 of 21




1          71.    The harm to Plaintiff and the members of the proposed Sub-Class
2    outweighs the public utility of Epic’s conduct. There is no public utility to
3    misrepresenting the price of a consumer product. This injury was not outweighed by
4    any countervailing benefits to consumers or competition. Misleading advertising only
5    injures healthy competition and harms consumers.
6          72.    Plaintiff and the members of the proposed Sub-Class could not have
7    reasonably avoided this injury. Epic’s misrepresentations were deceptive to reasonable
8    consumers like Plaintiff and the members of the proposed Sub-Class. Class-wide
9    reliance    on     Epic’s   misrepresentations   can   be   inferred   because    Epic’s
10   misrepresentations were material and uniform across the relevant product listings.
11         73.    As a direct and proximate result of Epic’s conduct, Plaintiffs and the
12   members of the proposed Class suffered damages including, but not limited to, those
13   arising from purchasing items at a higher price than they would have otherwise,
14   purchasing items that they would not otherwise have purchased, and purchasing items
15   that were not in fact scarce and thus less valuable than advertised.
16
                                         COUNT V
17                    TEXAS UNFAIR & DECEPTIVE TRADE PRACTICES ACT
                      TEXAS BUSINESS & COMMERCE CODE § 17.41, ET SEQ.
18

19         74.    Plaintiff J.J. brings this claim on their own behalf and on behalf of the

20   Texas Sub-Class.

21         75.    Plaintiff incorporates and realleges all factual allegations set out in this

22   Complaint as the basis for this cause of action. These allegations include, but are not

23   limited to, Plaintiffs’ allegations concerning (i) the Fortnite video game in paragraphs

24   13 through 17, (ii) Epic’s use of deceptive countdown timers in paragraphs 18 through

25   21, (iii) the effect of Epic’s deceptive countdown timers on minors at paragraphs 22

26   through 25, and (iv) Plaintiffs’ purchases from Epic at paragraphs 26 through 28.

27         76.    Plaintiff and the members of the proposed Sub-Class were and are

28   “consumers” under Texas Business and Commerce Code Section 17.45.

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
                                       17
         Case 3:25-cv-02254     Document 1       Filed 03/05/25   Page 19 of 21




1          77.    Epic violated Section 17.46(b)(5) of the Texas Business and Commerce
2    Code by representing that products offered for sale in the Fortnite Item Shop had
3    characteristics or benefits that they did not have. In particular, Epic falsely represented
4    that the products were scarce and thus more likely to be distinctive—features that are
5    crucial to minor-age Fortnite players—and that the value of these items was higher
6    than their actual value, by utilizing fake limited-time discounts.
7          78.    Epic violated Section 17.46(b)(9) of the Texas Business and Commerce
8    Code by advertising its products as being offered at a limited-time discount, when in
9    fact Epic did not intend to offer the products at a limited-time discount, but instead to
10   offer said discounts on an ongoing basis.
11         79.    Epic violated Section 17.46(b)(11) of the Texas Business and Commerce
12   Code by advertising its products with false and misleading statements of fact
13   concerning the reasons for and existence of price reductions. It did so by advertising its
14   products as being offered at limited-time discounts, when in fact Epic did not intend to
15   offer the products at limited-time discounts, but instead to offer said products at
16   purported discounts on an ongoing basis.
17         80.    Epic’s misrepresentations were intended to mislead its customers and did
18   in fact mislead Plaintiff and other reasonable, similarly situated consumers. Plaintiff
19   and the members of the proposed Sub-Class reasonably relied on Epic’s
20   misrepresentations and omissions as detailed above.
21         81.    Epic’s conduct was a producing cause of Plaintiff’s damages and those
22   suffered by the members of the proposed Sub-Class. As a direct and proximate result of
23   Epic’s conduct, Plaintiffs and the members of the proposed Sub-Class suffered damages
24   including, but not limited to, those arising from purchasing items at a higher price than
25   they would have otherwise, purchasing items that they would not otherwise have
26   purchased, and purchasing items that were not in fact scarce and thus less valuable
27   than advertised.
28

     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
                                       18
        Case 3:25-cv-02254    Document 1     Filed 03/05/25    Page 20 of 21




1         VIII. Jury Demand
2         82.   Plaintiffs demand a jury trial on all issues so triable.
3

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8

9    March 5, 2025                     Marshal Hoda
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
                                       19
         Case 3:25-cv-02254       Document 1    Filed 03/05/25     Page 21 of 21




1                                 CLRA VENUE DECLARATION
2
            I, Marshal Hoda, declare as follows:
3
            1.     I am counsel for Plaintiffs. I make this declaration to the best of my
4
     knowledge, information, and belief of the facts stated herein.
5
            2.     The complaint filed in this action is filed in the proper place for trial
6
     because many of the acts and transactions giving rise to this action are believed to have
7
     occurred in this district.
8
            I declare under penalty of perjury under the laws of the United States and the
9
     State of California that the foregoing is true and correct.
10

11
            Executed on March 5, 2025, in New Orleans, Louisiana.
12

13

14

15

16

17

18
                                                           _______________________________
19                                                         Marshal Hoda
                                                           Attorney & Founder
20                                                         The Hoda Law Firm, PLLC
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
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